Case 1:21-cr-00175-TJK Document 176 Filed 09/08/21, Pa e idt

D

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Vv. Case No. 21-cr-175

ETHAN NORDEAN,
Defendant.

CABLE NEWS NETWORK, INC., AMERICAN
BROADCASTING COMPANIES, INC. d/b/a

ABC NEWS, THE ASSOCIATED PRESS,
BUZZFEED, INC. d/b/a BUZZFEED NEWS,

CBS BROADCASTING INC. o/b/o CBS NEWS,
DOW JONES & COMPANY, INC., publisher of
THE WALL STREET JOURNAL, THE E.W.
SCRIPPS COMPANY, GANNETT CoO., INC.,
GRAY MEDIA GROUP, INC., LOS ANGELES
TIMES COMMUNICATIONS LLC, publisher of
THE LOS ANGELES TIMES, NATIONAL PUBLIC
RADIO, INC., NBCUNIVERSAL MEDIA, LLC
d/b/a NBC NEWS, THE NEW YORK TIMES
COMPANY, PRO PUBLICA, INC., TEGNA, INC.,
AND WP COMPANY LLC, d/b/a THE
WASHINGTON POST,

Proposed Intervenors.

THE PRESS COALITION’S MOTION TO INTERVENE AND
MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

Pursuant to Local Criminal Rule 47, Proposed Intervenors Cable News Network, Inc.,
American Broadcasting Companies, Inc. d/b/a ABC News, The Associated Press, Buzzfeed, Inc.
d/b/a BuzzFeed News, CBS Broadcasting Inc. 0/b/o CBS News, Dow Jones & Company, Inc.,
publisher of The Wall Street Journal, The E.W. Scripps Company, Gannett Co., Inc., Gray Media
Group, Inc., Los Angeles Times Communications LLC, publisher of The Los Angeles Times,

National Public Radio, Inc., NBCUniversal Media, LLC d/b/a NBC News, The New York Times
Case 1:21-cr-00175-TJK Document 176 Filed 09/08/21 Page 2 of 11

Company, Pro Publica, Inc., Tegna, Inc., and WP Company LLC, d/b/a The Washington Post
(together, the “Press Coalition”) respectfully move to intervene in this matter for the limited
purpose of challenging the Government’s designation of four clips of surveillance video from the
United States Capitol as “Highly Sensitive,” which improperly prevents Defendant Ethan
Nordean from providing the clips to the press and public. The Government cannot demonstrate a
legitimate need to designate these videos as “Highly Sensitive” because many videos from
Capitol surveillance cameras — including at this exact location — have already been made public.
The Court should order the Government to remove the challenged designation immediately.

BACKGROUND

This action is one of many criminal cases pending in this District arising out of the
January 6, 2021 riot at the United States Capitol. Defendant Ethan Nordean is charged with
“multiple felony offenses, including one Congress has characterized under these circumstances
as a federal crime of terrorism, and another that exposes him to a 20 year sentence.” See Order
of Detention Pending Trial at 3, Dkt. 65.

On June 2, 2021, the Government moved for a protective order, stating that it and the
Defendant had “not reached an agreement as to the entry of the proposed order at this time” and
attaching a declaration executed on March 17, 2021 by Thomas DiBiase, General Counsel for the
Capitol Police. United States’ Mot. for Protective Order at 1, Dkt. 92. The DiBiase declaration
asserts that surveillance footage “in the aggregate” would be “security information” because it
would provide “a clear picture of the interior of the Capitol, including entry and exit points,
office locations, and the relation of the crucial chambers and offices (such as the Speaker’s
Office or Majority Leader's Office) to other areas of the Capitol.” DiBiase Decl. ¥ 16, Dkt. 92-1.

On June 28, 2021, after the Government submitted another motion which it represented

Defendant did not oppose, the Court entered an Interim Protective Order Governing Discovery in

2
Case 1:21-cr-00175-TJK Document 176 Filed 09/08/21 Page 3 of 11

this matter (the “Protective Order”). See Dkt. 103. The Protective Order “governs materials
provided by the United States at any stage of discovery during this case and which the United
States has identified as either ‘Sensitive’ or ‘Highly Sensitive,” and it lists “[s]urveillance
camera footage from the U.S. Capitol Police’s extensive system of cameras on U.S. Capitol
grounds” among the “{e]xamples of materials that the United States may designate as ‘Sensitive’
or ‘Highly Sensitive’” under the Protective Order. See id. at 1. The Protective Order states that,
absent the Government’s consent or the Court’s authorization, “[n]o Sensitive or Highly
Sensitive materials . . . may be disclosed to any persons other than Defendant, the legal defense
team, or the persons to whom the Sensitive or Highly Sensitive information solely and directly
pertains or his/her counsel.” Jd. at 2.

On July 28, 2021, Defendant filed a motion requesting that the Court order the
Government to remove the “Highly Sensitive” designation on four videos provided to him in
discovery (the “CCTV Videos”). Def. Nordean’s Mot. to Remove Sensitivity Designation from
Certain Capitol Videos Produced in Discovery (“Def.’s Mot.”), Dkt. 129. Defendant argues that
“{iJn select January 6 cases, the government expressly agrees to remove sensitivity designations
from CCTV surveillance footage from inside the Capitol Building,” and the “selective
designation satisfies neither the Order’s terms nor the defendant’s rights to due process, to an
impartial jury, and to assist in his own defense.” Jd. at 1.

According to Defendant, the CCTV Videos are “exculpatory,” and the Government is
“taking inconsistent and self-serving positions on the supposed need to deny the public access to
highly relevant Capitol CCTV video.” Jd. at 6-7. Defendant also states that he personally cannot
view the CCTV Videos because the Government’s “Highly Sensitive” designation prevents him

from accessing them in the detention facility where he is being held, which “is infringing on [his]
Case 1:21-cr-00175-TJK Document 176 Filed 09/08/21 Page 4 of 11

right to assist in his own defense.” Jd. at 6-7. Defendant states the CCTV Videos are from two
cameras located on the Upper West Terrace of the Capitol. Jd. at 2-3.

On July 29, 2021, the Government filed a notice in response indicating that it would
oppose Defendant’s motion but that it “found it necessary to provide an immediate response to
Defendant’s characterization of rioters’ entrance to the Capitol.” United States’ Notice of Under
Seal Submission of Exhibits at 1, Dkt. 131. According to the Government, the CCTV Videos are
not exculpatory and in fact depict “outnumbered Capitol Police officers being overrun by rioters
unlawfully breaching a Capitol entrance.” Id.

Defendant responded to the Government that day, asserting that “because the government
makes representations to the public in its notice about videos that it claims show his guilt and, at
the same time, prevents the public from seeing evidence that contradicts its claims, a response
must be made.” Def. Nordean’s Response to the Gov’t’s Notice of Sealed Submission of
Evidence at 1, Dkt. 132. Defendant states the Government’s descriptions of what is depicted in
the CCTV Videos is “misleading” and asks that the Court review specific portions of the CCTV
Videos. Jd. at 2-3.

The Press Coalition now respectfully moves to intervene in this matter to assert the
public’s distinct interest in receiving the CCTV Videos that Defendant would publish but for
their designation as “Highly Sensitive.”

ARGUMENT
I. The Press May Intervene For The Purpose Of Challenging A Protective Order

It is well settled that members of the press, like members of the public, have standing to
intervene to challenge protective orders and confidentiality designations that restrict access to
materials of public concern. See League of Women Voters of the United States v. Newby, 963
F.3d 130, 135 (D.C. Cir. 2020) (“Every circuit court that has considered the question—including

4
Case 1:21-cr-00175-TJK Document 176 Filed 09/08/21 Page 5 of 11

this one—has come to the conclusion that nonparties may permissively intervene for the purpose
of challenging confidentiality orders.”) (internal marks omitted); EEOC v. Nat’l Children’s Ctr.,
146 F.3d 1042, 1046 (D.C. Cir. 1998) (embracing a “flexible approach” to intervention given
“our longstanding tradition of public access to court records” so that “third parties [can] have
their day in court to contest the scope or need for confidentiality,” and “hold[ing] that third
parties may be allowed to permissively intervene under [the Federal Civil Rules] for the limited
purpose of seeking access to materials that have been shielded from public view either by seal or
by a protective order’) (citations and internal marks omitted); In re Guantanamo Bay Detainee
Litig., 630 F. Supp. 2d 1, 4 (D.D.C. 2009) (noting that the Court had granted press motion to
intervene “for the limited purpose of opposing the government’s motion” to designate
unclassified material as “protected” under the Protective Order governing Guantanamo Bay
prosecutions); cf’ United States v. Hubbard, 650 F.2d 293, 311 n.67 (D.C. Cir. 1980) (noting that
“[f]ederal courts have frequently permitted third parties to assert their interests in preventing
disclosure of material sought in criminal proceedings”) (emphasis added).

In another Capitol riot case where the Press Coalition similarly moved to intervene for
the limited purpose of challenging the “Highly Sensitive” designation of CCTV footage that the
defendant claimed was exculpatory, the Government conceded that such intervention “appears
appropriate” and thus “assume[d] for purposes of th[e] motion that intervention under such
circumstances is appropriate.” United States’ Opp. to the Press Coalition’s Mot. to Intervene at
3-4, United States v. Anderson, 21-cr-215-RC, Dkt. 28 (emphasis added).

Here, the Press Coalition seeks to intervene for the limited purpose of challenging the
Government’s use of the Protective Order to prevent Defendant from making the CCTV Videos

available to the public. Under the law of this Circuit, the Court should permit such intervention.
Case 1:21-cr-00175-TJK Document 176 Filed 09/08/21 Page 6 of 11

Il. The Government Fails To Justify Designating The CCTV Videos “Highly Sensitive”

The Protective Order provides that “the burden of demonstrating the need for a protective
order remains with the government at all times.” See Dkt. 103 at 4. The Government has not
demonstrated such a need with respect to the CCTV Videos, and it cannot do so on these facts.

A. The Government’s position here contradicts its position in other riot cases.

In sealing the CCTV Videos, the Government contradicts the position it has taken in
other pending Capitol riot prosecutions, where it has chosen not to contest the release of Capitol
surveillance footage. See, e.g., Minute Order of July 2, 2021, In re Application for Access to
Certain Sealed Video Exhibits, 21-mc-74-EGS (ordering release of CCTV video exhibits shown
in United States v. Cua, 21-cr-107-RDM-1, after the Government indicated that “it and Mr. Cua
are in agreement that the video . . . can be released’’); Minute Order of June 19, 2021, United
States v. Morss, 21-cr-40-TNM-S (ordering release of videos, including four clips of CCTV
footage, after “neither the government nor the defense objects to the release”); Minute Order of
June 23, 2021, United States v. Owens, 21-cr-286-BAH (ordering release of video exhibits,
including two CCTV video clips, to the Press Coalition based on the parties’ consent); Minute
Order of June 24, 2021, In re Application of Press Coalition for Certain Sealed Video Exhibits,
21-mc-85-CRC (ordering release of four video compilations shown to the court in United States
v. Egtvedt, 21-cr-177, which included CCTV footage, after “both the government and the
defendant have indicated their consent to the release”); United States v. Jackson, 2021 U.S. Dist.
LEXIS 49841, at *2 (D.D.C. Mar. 17, 2021) (noting the Government took no position on a Press
Coalition member’s request for release of Capitol surveillance videos shown at a detention
hearing); United States’ Second Supp. Resp. to Expedited Mot. for Public Access to Certain

Sealed Video Exhibits, Jn re Application of Press Coalition for Certain Sealed Video Exhibits,
Case 1:21-cr-00175-TJK Document 176 Filed 09/08/21 Page 7 of 11

Case No. 21-mc-34-TFH, Dkt. 8 (withdrawing objection to release of Capitol surveillance videos
shown to the court in United States v. Tanios, 21-cr-222-TFH-2).
B. The Government’s rationale for secrecy no longer withstands scrutiny.
According to the Government, disclosure of the surveillance footage would expose “the
layout, vulnerabilities and security weaknesses of the U.S. Capitol.” DiBiase Decl. § 14, Dkt.

92-1. But the Government has already released CCTV footage that was captured in the same

exact location as the CCTV Videos at issue here —i.e., on the Upper West Terrace of the Capitol.

See Video Evidence Shown in the Capitol Insurrection Criminal Cases, ProPublica (July 27,

2021), https://projects.propublica.org/jn-6-video-evidence/ (“Exhibit 11 - Video Upper Terrace

West-1.mp4” and “Exhibit 12 - Video Upper Terrace West-2.mp4” under “USA v Tanios”).
Presented with an identical situation in the Anderson case, where the defendant
challenged the “Highly Sensitive” designation of a CCTV video clip and the Government had
previously released footage from the same Capitol security camera, Judge Rudolph Contreras
recently observed that the DiBiase Declaration is “very, very generalized” and that when the
Government has already released footage from the same camera, “the already thin reed snaps.”
July 28, 2021 Hr’g Tr. at 5:20-6:6, 10:8-21. Judge Contreras thus ordered the Government to
remove its “Highly Sensitive” designation in that case so that the defendant could share the
CCTV video clip with the press. Order, United States v. Anderson, 21-cr-215-RC, Dkt. 37.

Indeed, the Government submitted the identical DiBiase Declaration four months ago

with its subsequently-abandoned opposition to release of CCTV video exhibits in the United
States v. Tanios riot case. See Decl. of Thomas A. DiBiase (“DiBiase Decl.), In re Application
of Press Coalition for Certain Sealed Video Exhibits, Case No. 21-mc-34-TFH, Dkt. 4-1; United

States’ Second Supp. Resp. to Expedited Mot. for Public Access to Certain Sealed Video
Case 1:21-cr-00175-TJK Document 176 Filed 09/08/21 Page 8 of 11

Exhibits, Dkt. 8 (withdrawing objection to release of Capitol surveillance videos). Since then,
footage from many different Capitol CCTV cameras has been released to the public. See, e.g.,
News4 Obtains Video of Alleged Baseball Bat Attack at US Capitol Insurrection, NBC

Washington (Mar. 18, 2021) https://www.nbewashington.com/news/local/news4-obtains-video-

of-alleged-baseball-bat-attack-at-us-capitol-insurrection/2611519/ (CCTV footage submitted in

United States v. Jackson shown at 1:06); Video Evidence Shown in the Capitol Insurrection

Criminal Cases, ProPublica (July 27, 2021), https://projects.propublica.org/jan-6-video-

Douglas Owens, Bruno Joseph Cua, Daniel Dean Egtvedt and Robert Morss).
The Government itself has also disseminated CCTV footage in investigations and
proceedings related to the Capitol riot. See, e.g., U.S. Capitol Violence, FBI,

https://www.fbi.gov/wanted/capitol-violence; See full video of how insurrection at Capitol

unfolded, CNN (Feb. 10, 2021), https://www.cnn.com/videos/politics/202 1/02/10/security-

footage-capitol-riot-plaskett-timeline-impeachment-trial-two-vpx.cnn (Capitol security video

shown at 12:30, 17:30, 21:40, 22:50, 33:40, 34:34 during President Trump’s second
impeachment trial). The layout of the Capitol and the locations and capabilities of its
surveillance cameras are simply no longer secret.

The D.C. Circuit addressed an analogous situation in Washington Post v. Robinson,
where the Post sought access to the plea agreement of a district employee who cooperated with
an investigation into Mayor Marion Barry. 935 F.2d 282, 283-85 (D.C. Cir. 1991). The
government argued that the record should remain sealed because it “was part of an ongoing
criminal investigation that might be compromised or that might embarrass innocent parties if

publicized,” because “release of the agreement may [have made] it difficult to secure the
Case 1:21-cr-00175-TJK Document 176 Filed 09/08/21 Page 9 of 11

cooperation of other witnesses,” and because “the safety of [the cooperator] and his family
would have been placed at risk.” Jd. at 291 (citation, internal marks, and alterations omitted).
The court rejected these speculative concerns, reasoning that the substantial amount of already-
public information about the investigation and the cooperator’s involvement, including
information reported by the press, meant that unsealing the plea agreement “could hardly have
posed any additional threat to the ongoing criminal investigation.” Jd. at 292 (emphasis added).

Because the public already has access to an enormous volume of videos from inside the
Capitol, the Government likewise cannot demonstrate that releasing these CCTV Videos would
pose any further threat to the security of the Capitol. Especially when weighed against the
public’s interest in viewing evidence that the Defendant claims is exculpatory, the Government
cannot justify maintaining its designation of the CCTV Videos as “Highly Sensitive.” The Court
should therefore order the Government to remove that designation from the CCTV Videos and to
make the CCTV Videos available to the press and the public.

CONCLUSION

For the foregoing reasons, the Press Coalition respectfully requests that the Court grant

its motion to intervene, order the Government to remove the “Highly Sensitive” designation from

the CCTV Videos, and grant such other and further relief as is just and proper.
Case 1:21-cr-00175-TJK Document 176 Filed 09/08/21 Page 10 of 11

Dated: August 3, 2021

Respectfully submitted,
BALLARD SPAHR LLP

/s/ Charles D. Tobin

Charles D. Tobin (#455593)
Maxwell S. Mishkin (#1031356)
Lauren Russell (#1697195)
1909 K Street, NW, 12th Floor
Washington, DC 20006
Telephone: (202) 661-2200
Fax: (202) 661-2299
tobinc@ballardspahr.com
mishkinm@ballardspahr.com
russelll@ballardspahr.com

Counsel for the Press Coalition

10
Case 1:21-cr-00175-TJK Document 176 Filed 09/08/21 Page 11 of 11

CERTIFICATE OF SERVICE

I hereby certify that on this 3rd day of August 2021, I caused true and correct copies of

the foregoing to be served via electronic mail and U.S. Mail on the following:

David Benjamin Smith
DAVID B. SMITH, PLLC
108 North Alfred Street
1st Floor

Alexandria, VA 22314
dbs(@davidbsmithpllc.com

Nicholas D. Smith
DAVID B. SMITH, PLLC
7 East 20th Street

Suite 4r

New York, NY 10003
nds(@davidbsmithplic.com

Counsel for Defendant Ethan Nordean

James B. Nelson

U.S. Attorney’s Office for the District of Columbia
555 4th Street NW

Room 4112

Washington, DC 20001

james.nelson(@usdoj.gov

Jason Bradley Adam McCullough

U.S. Attorney’s Office for the District of Columbia
555 4th Street NW

Washington, DC 20530
jason.mecullough2(@usdoj.gov

Luke Matthew Jones

U.S. Attorney’s Office for the District of Columbia
555 Fourth Street NW

Washington, DC 20530

luke.jones@usdoj.2ov

Counsel for the United States of America

/s/ Charles D. Tobin
Charles D. Tobin (#455593)

